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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,        )        Case No. 00CR3233-JM
                                    )
11                  Plaintiff,      )
                                    )        ORDER AND JUDGMENT OF
12        v.                        )        DISMISSAL OF INDICTMENT AND
                                    )        RECALL ARREST WARRANTS
13   ENRIQUE GARCIA-CARDENAS (2),)
     DANIEL MARTINEZ-RIVERA (7), )
14   MARTIN ROMO-CHAIREZ (8),       )
     RAFAEL SOTO-VILLAGRANA (9),)
15                                  )
                    Defendant.      )
16   ______________________________ )
17        Upon motion of the UNITED STATES OF AMERICA and good cause appearing,
18        IT IS HEREBY ORDERED that the Indictment in the above entitled case be
19 dismissed without prejudice, and the Arrest Warrants be recalled.
20        IT IS SO ORDERED.
21 DATED: March 15, 2013
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                                             Hon. Jeffrey T. Miller
23                                           United States District Judge
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